                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF MISSOURI
                                   ST. JOSEPH DIVISION

UNITED STATES OF AMERICA,                          )
                                                   )
                               Plaintiff,          )
                                                   )
vs.                                                )       Case No. 16-06008-06-CR-SJ-GAF
                                                   )
JASON SCOTT VALENTINE,                             )
                                                   )
                               Defendant.          )

                                                ORDER

        On July14, 2016, defendant appeared before Chief United States Magistrate Judge Sarah W.

Hays and entered a plea of guilty to the charge of conspiracy to distribute fifty (50) grams or more of

methamphetamine, a lesser included offense of Count One of the Indictment. The Defendant also

admitted the allegations of forfeiture, which include a money judgment to be entered against the

Defendant, as contained in the Indictment. Judge Hays issued her Report and Recommendation (doc.

222).

        Upon careful and independent review, this Court finds that defendant’s plea was knowledgeable

and voluntary and that the offense charged is supported by an independent basis in fact containing each

of the essential elements of such offense. Accordingly, this Court hereby adopts and incorporates as its

own Opinion and Order the Report and Recommendation of Chief United States Magistrate Judge Sarah

W. Hays.

        Accordingly, it is hereby ORDERED that defendant’s plea of guilty is accepted and defendant is

adjudged guilty. The defendant’s sentencing hearing will be scheduled and the parties notified of the

date and time of sentencing.




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      SO ORDERED.
                                        s/ Gary A. Fenner
                                        GARY A. FENNER, JUDGE
                                        UNITED STATES DISTRICT COURT

DATED: August 9, 2016




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